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UNITED STATES DISTRICT COURT ™ .
MIDDLE DISTRICT OF FLORIDA | ©

JACKSONVILLE DIVISION ©"

 
 

VENUS FASHION, INC.,

Plaintiff, 3. lecu 1003-31 MCR

V.

Civil Action No.:
CONTEXTLOGIC INC., and Honorable:
WISH, INC.,

Defendants.
/
Motion For Aaron D. Charfoos To Appear Pro Hac Vice

Pursuant to Local Rule 2.02 of the Middle District of Florida, the undersigned
respectfully moves for the admission pro hac vice of Aaron D. Charfoos of the law firm of
Dykema Gossett PLLC, 10 S. Wacker Drive, Suite 2300, Chicago, IL 60606, for purposes of
appearance in this case as co-counsel on behalf of Plaintiff, Venus Fashion, Inc., and in support
states as follows:

1. In accordance with Local Rule 2.02(a), a Special Admission Attorney
Certification form and payment of the requisite fee is being submitted to the Clerk of the Court
simultaneously herewith, as well as the filing of a Written Designation and Consent-to-Act by
Non-Resident Attorney. These documents are incorporated herein by reference.

2. Aaron D. Charfoos is an attorney licensed in the State of Illinois and has been a
member in good standing of the State Bar of Illinois since November 7, 2002.

3. Peter A. Chiabotti and David E. Otero, attorneys at the law firm of Akerman LLP,

have been designated as local counsel for Plaintiff.

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4. Aaron D. Charfoos has never been disbarred and is not currently suspended from

the practice of law in the State of Florida or any other state nor from any United States

Bankruptcy Court, District Court, or Court of Appeals.

5. Aaron D. Charfoos is familiar with and shall be governed by the local rules of this

Court, the rules of professional conduct, and all other requirements governing the professional

members of the Florida Bar

WHEREFORE, Peter A. Chiabotti and David E. Otero move this Court to enter an Order

authorizing Aaron D. Charfoos to appear before this Court on behalf of Plaintiff for all purposes

relating to the proceedings in the above-styled matter and directing the Clerk to provide notice of

electronic filings to him at acharfoos@dykema.com.

CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

The foregoing Motion is being filed before Defendants have made an appearance.

Dated: July 14, 2016

{38687966; 1}

Respectfully submitted,

/s/ Peter A. Chiabotti

David Otero

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Attorneys for Plaintiff Venus Fashion, Inc.
